Case 1:01-cr-10060-.]DT Document 13 Filed 04/22/05 Page 1 of 2 Page|D 5
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tvs- Case No. 1 :01cr10060-001-T

UNITED STATES OF AMERICA

TAMMIE MICHELE MOORE

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of eounsel. Accordingly,

the Coul't makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
- Probation/Supervised Release Violation

DONE and ORDERED in 111 South Highland, Jackson, TN this 22nd day of April, 2005.

é.%/a @J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:
United States Attorney
United States Marshal

Pretrial Services Office
Assistant F ederal Public Defender

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with Rule55and101’32(b) FHCrPon M

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This notice confirms a copy ofthe document docketed as number 13 in
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J ames W. PoWell

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Honorable J ames Todd
US DISTRICT COURT

